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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE                  )
REPLACEMENT THERAPY                  )                   Case No. 1-14-cv-1748
PRODUCTS LIABILITY LITIGATION        )
                                     )                   MDL No. 2545
This document relates to all actions )


                        CASE MANAGEMENT ORDER NO. 84
                      (Enhancements to plaintiffs' fact sheets;
               modifications to process for dealing with deficiencies)

MATTHEW F. KENNELLY, District Judge:

       The Court recently directed the parties to make proposals for, among other

things, enhancement of the existing plaintiff's fact sheet (PFS) for member cases within

this MDL and shortening of the process for dealing with late or otherwise deficient PFS

submissions. The two sides submitted significantly disparate proposals along with

justifications for their respective proposals. The Court held a case management

conference at which it made determinations regarding certain disputed matters and

provided guidance regarding the remaining disputed matters, and it directed the parties

to confer and make a further submission embodying the Court's determinations.

       The Court has now reviewed the revised proposals regarding enhancements to

the PFS and the process for dealing with late or otherwise deficient PFS submissions.

Each side accuses the other of trying to evade the Court's directives at the case

management conference. Each side is right, but for each side this amounts to the pot

calling the kettle black. Plaintiffs are attempting to relitigate the Court's determination

that the process for dealing with late or deficient PFS submissions is to be shortened

and made more stringent. Defendants are attempting to obtain enhancements to the
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contents of the PFS that the Court has specifically rejected and sanctions for PFS

noncompliance that have never been imposed or even, in the Court's recollection,

proposed. All of this is very disappointing; the Court expected better.

       The parties are directed to submit a single draft case management order (CMO),

by 2:00 p.m. Chicago time today, that tracks the following directives:

   •   Plaintiffs' proposed "plaintiff profile form" (PPF) is adopted for all existing cases in

       the MDL.

   •   There must be a revised PFS, incorporating the material in the current PFS and

       adding the material from plaintiffs' proposed PPF, that applies to all newly-filed

       cases.

   •   For current cases, the PPF is to be provided within 90 days of entry of the CMO.

       For new cases, the combined PFS-PPF is to be provided within the time

       previously ordered for the current version of the PFS.

   •   The Court rejects defendants' proposal to enhance the requirement for plaintiffs

       to seek out and obtain, as part of the PFS process, records not in their

       possession or custody beyond what is required by the current PFS process,

       CMO 75, and the to-be-imposed new requirement to obtain pharmacy drug

       dispensation records. This is part of what the Court determined at the recent

       case management conference.

   •   The order is to include a revised version of defendants' proposed CMO ¶ II.A.4

       that reads as follows: "If during the course of completing his PPF, Plaintiff learns

       that any Defendant has been improperly named in a complaint due to lack of

       relevant product usage, Plaintiff will, within 21 days of submitting his PPF,


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     voluntarily dismiss that Defendant or serve a stipulation for dismissal of that

     Defendant."

 •   Plaintiffs' proposed ¶ II.B is approved.

 •   Plaintiffs' proposal for an automatic 30 day extension is rejected (see plaintiffs'

     proposed CMO ¶ II.C), as is plaintiffs' proposal for notification of deficiencies by

     defendants and a period for cure prior to submission of deficiencies to the Court

     for entry of an order to show cause (see id. ¶¶ II.D & II.E). The 90 day period for

     submission of a PPF (for existing cases) or an enhanced PFS (for newly filed

     cases), along with the period following issuance of an order to show cause,

     provides an ample opportunity for compliance. The Court acknowledges that the

     Rules of Civil Procedure typically require a meet-and-confer process before filing

     a motion seeking a sanction for discovery noncompliance, but those same rules

     provide a significantly shorter period for compliance with a discovery request

     than the 90 day period provided for the PFS/PPF. The trade-off is appropriate

     given the need for efficient management of the large number of cases within this

     MDL.

 •   Defendants' proposed ¶ II.C is approved. A 21 day period to respond to the

     Court's order to show cause is sufficient in light of the 90 day period for

     compliance with the PFS/PPF requirement.

 •   Defendants' proposed ¶ II.D is to be replaced with a revised version that states,

     "If the Plaintiff fails to show cause within 21 days of entry of the Court's order to

     show cause, the Court may dismiss the Plaintiff's case with prejudice or impose

     another appropriate sanction."


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  •   Defendants' proposal for imposition of a sanction upon a plaintiff who cures a

      PPF / PFS deficiency following issuance of an order to show cause is rejected.

  •   The parties are directed to confer, make appropriate compromises, and reach

      agreement on any remaining disputed language.

Date: December 8, 2017

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                                                    MATTHEW F. KENNELLY
                                                    United States District Judge




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